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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA
                Plaintiff,

UNITED STATES OF AMERICA

        v.                                                    Case No. 21-0507 (PLF)



STEPHANIE MARYLOU BAEZ,

                Defendant.




               DEFENDANT’S STATUS REPORT REGARDING TRIAL DATE
        Pursuant to this Court’s order dated February 12, 2024, the defendant, Stephanie Marylou

Baez, by and through her attorney, hereby submits this status report requesting that the Court set

jury selection in this matter to begin July 25, 2024, with trial to follow on July 29, 2024.

        As the Government has accurately noted, on February 9, 2024, the parties jointly moved

to vacate the trial date which was previously set by this Court to begin on February 26, 2024.

This joint movement came only after the defendant received an evaluation from a medical

professional regarding an unforeseen and tragic medical condition which affected her ability to

stand trial at that time.

        The parties have been unable to reach an agreement regarding a trial date. As described

herein, the defendant proposes that the Court set jury selection in this matter to begin on July 25,

2024, with trial to follow on July 29, 2024. The government seeks an earlier trial date beginning

at the end of May 2024.
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       While the defendant appreciates the government’s understanding of her unforeseen

medical tragedy, there are other aspects which the Court must consider in beginning the trial

before mid-July. Trial judges have broad discretion in granting or denying request for

continuance. See Mack v. United States, 637 A.2d 420 (D.C. 1994) (emphasis added). Some of

the factors to be weighed by the trial judge in considering this continuance are the length of the

requested delay, whether the defendant has other competent counsel prepared to try case and

whether denying the continuance will result in identifiable prejudice to defendant’s case. See

United States v. Gantt, 140 F.3d 249 (D.C. Cir. 1998).

       As this court may be aware of, defendant’s counsel has been retained in more than a

handful other January 6 cases. Many of these cases are set for trial before the requested date by

the government. As such, defense counsel must prepare for trials involving January 6 clients

which have been set within this Court on March 18, 2024, March 25, 2024, April 8, 2024, April

22, 2024, May 6, 2024, May 20, 2024, and June 17, 2024. The pace of these trials nearly back-

to-back is becoming nearly impracticable for a firm of this size.

       Ultimately, “stripping away the opportunity to prepare for trial is tantamount to denying

altogether the assistance of counsel for the defense.” United States v. Burton, 584 F.2d 485, 489

(D.C. Cir. 1978). A continuance until mid-July should not bear an excessive inconvenience on

the government nor the Court, while beginning the jury selection for this matter any earlier

would be result in a prejudice on the defendant. The government has not alleged that “witness’s

memories would fade or that safety issues would arise during the period of continuance.” See

United States v. Young-Bey, 2023 WL 4706122 (D.D.C. July 24, 2023) (where the court granted

the defendant’s motion to continue, supporting its order that minimal inconvenience would be

inflicted upon the government).
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       Defense counsel needs adequate time to prepare for each individual defendant’s trial,

providing competent and diligent representation to those who stand before this court. Given the

small size of defense counsel’s firm, we encourage this court to begin trial no earlier than July

2024, for defendant to receive effective assistance of counsel. It is also appreciated if the court

could keep in mind the physical and mental health as well as the personal lives of the team

members at defense counsel’s firm when deciding how quickly to set trial for.

       The defendant, by and through her counsel, respectfully requests that the Court reset jury

selection in this matter to begin on July 25, 2024, with trial to follow on July 29, 2024. The

parties will submit a proposed Amended Scheduling Order after the Court sets a new trial date.

Date: February 26, 2024                                               Respectfully Submitted,

                                                                      /s/ John M. Pierce
                                                                      John M. Pierce
                                                                      John Pierce Law, P.C.
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                                                                      Attorney for Defendant
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                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, February 26, 2024, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce
